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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 TIMOTHY KING, MARIAN ELLEN
 SHERIDAN, JOHN EARL HAGGARD,
 CHARLES JAMES RITCHARD, JAMES
 DAVID HOOPER, and DARREN WADE                No. 2-20-cv-13134
 RUBINGH,
                                              HON. LINDA V. PARKER
       Plaintiffs,
 v                                            MAG. R. STEVEN WHALEN

 GRETCHEN WHITMER, in her official
 capacity as Governor of the State of            STIPULATED ORDER
 Michigan, JOCELYN BENSON, in her               EXTENDING TIME FOR
 official capacity as Michigan Secretary of   DEFENDANTS BENSON AND
 State and the Michigan BOARD OF STATE         WHITMER TO REPLY TO
 CANVASSERS,                                  PLAINTIFFS’ RESPONSE TO
                                              DEFENDANTS’ MOTION FOR
       Defendants,                                   SANCTIONS

 CITY OF DETROIT,

       Intervening Defendant,

 ROBERT DAVIS,

       Intervening Defendant,

 DEMOCRATIC NATIONAL
 COMMITTEE and MICHIGAN
 DEMOCRATIC PARTY,

      Intervening Defendant.
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                                                                             /

 STIPULATED ORDER EXTENDING TIME FOR DEFENDANTS BENSON
     AND WHITMER TO REPLY TO PLAINTIFFS’ RESPONSE TO
            DEFENDANTS’ MOTION FOR SANCTIONS

       The parties hereby stipulate and agree to a 14 day extension for Defendants

Secretary of State Jocelyn Benson and Governor Gretchen Whitmer to file their

reply to Plaintiffs’ response to their motion for sanctions;

       IT IS HEREBY ORDERED that a reply to the response will be required

from Defendants Benson and Whitmer on or before March 11, 2021.

       IT IS SO ORDERED.
                                                s/ Linda V. Parker
                                                LINDA V. PARKER
                                                U.S. DISTRICT JUDGE

 Dated: February 25, 2021




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The parties, through their respective counsel, stipulate to the entry of the above
order.

s/Stephanie Lambert Junttila (w/consent)             Dated: February 24, 2021
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s/Heather S. Meingast                                Dated: February 24, 2021
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